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                  EXHIBIT B
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                         CHART OF APPLICABLE DEFENSES
#         Statement                 Truth   Privileged   Not of or    Not of or        Not
                                                         concerning   concerning       Objective
                                                         Hurry        SCA              Fact
1(¶35a)  Ms. Hurry “co-owns a       X       X            X
Count I  broker/dealer that was
         subject to a ruling for
         poor anti-money-
         laundering compliance”
2(¶35b) “The U.S. Securities and    X       X            X            X
Count I Exchange Commission
         has brought several
         cases against clients of
         the three Hurry-owned
         companies”
3(¶35c) “Financial regulators       X       X            X
Count I have filed enforcement
         action(s) regarding
         inadequate anti-money
         laundering compliance
         at SCA”
1(¶43a) Ms. Hurry lacks             X                                 NA-SCA not       X
Count II “integrity”                                                  a Plaintiff to
                                                                      Count II
2(¶43b) “The SEC has brought        X       X            X            NA-SCA not
Count II cases against clients of                                     a Plaintiff to
         three companies owned                                        Count II
         by Ms. Hurry”
3(¶43c) Ms. Hurry lacks “good       X                                 NA-SCA not       X
Count II character”                                                   a Plaintiff to
                                                                      Count II
4(¶43d) “Ms. Hurry has been                              X            NA-SCA not
Count II involved in ‘pump-and-                                       a Plaintiff to
         dumps’ of penny                                              Count II
         stocks”
